      Case 1-23-40150-jmm              Doc 74       Filed 05/15/24     Entered 05/15/24 17:08:43




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------x
In re:                                                               Chapter 7

                 DAVID RUSI,                                         Case No.: 23-40150-jmm

                                             Debtor.
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                                           AFFIDAVIT OF SERVICE

STATE OF NEW YORK                  )
                                   ) ss:
COUNTY OF SUFFOLK                  )

        EVERLYN MEADE-BRAMBLE, being duly sworn, deposes and says:

      Deponent is not a party to this action, is over 18 years of age and resides in New York,
New York;

        On the 15th day of May, 2024 deponent served the ORDER AUTHORIZING DAVID J.
DOYAGA, SR. AS TRUSTEE TO ISSUE SUBPOENA FOR THE PRODUCTION OF
DOCUMENTS with SUBPOENA and SCHEDULE A attached thereof, upon the
attorneys/parties listed on the annexed list at the addresses listed, said addresses designated for
that purpose, by depositing a true copy of same enclosed in a postpaid, properly addressed
wrapper in an official depository under the exclusive care and custody of the United States Postal
Service within the State of New York by First Class Mail and Certified Mail Return Receipt to:

See attached service list

                                                                     s/Everlyn Meade-Bramble
                                                                     Everlyn Meade-Bramble

Sworn to before me this
15th day of May, 2024

s/Avrum J. Rosen
AVRUM J. ROSEN
Notary Public, State of New York
No. 02RO4872542
Qualified in Suffolk County
Commission Expires September 8, 2026
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                                       Service List

Via First Class Mail

Goldman Sach Bank USA
Attn David M Solomon CEO
200 West St
New York, NY 10282-2102

Goldman Sach Bank USA
Attn General Counsel
200 West St
New York, NY 10282-2102

Via Certified Mail Return Receipt

Goldman Sach Bank USA
Attn David M Solomon CEO
200 West St
New York, NY 10282-2102
